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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                      Eastern District
                                                    __________         of of
                                                                District  New  York
                                                                             __________

   NICHOLAS JOHNSON, and MELVIN ALVAREZ,                             )
    Individually and on behalf of all other persons                  )
                   similarly situated,                               )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )                          23-cv-8755
                                v.                                          Civil Action No.
                                                                     )
     DREAMWORK AUTOMOTIVE CORP.,                                     )
  BEASTMODE TOWING AUTOMOTIVE BK, and                                )
 PEOPLE'S CHOICE AUTOMOTIVE CORP., Jointly                           )
               and Severally                                         )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) See attached Rider.




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Douglas B. Lipsky
                                           LIPSKY LOWE LLP
                                           420 Lexington Avenue, Suite 1830
                                           New York, New York 10170



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                               #3&//"#.")0/&:
                                                                               CLERK OF COURT


Date:      11/29/2023
                                                                                          Signature of Clerk or Deputy Clerk
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 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
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               Nicholas Johnson, et al. v. Dreamwork Automotive Corp., et al.,
                              No. ______________________

                       RIDER TO SUMMONS IN A CIVIL ACTION

TO: (Defendant’s name and address)

      Dreamwork Automotive Corp.
      550 West 25th Street
      New York, New York 10001

      Beastmode Towing Automotive BK
      1301 Westchester Avenue
      Bronx, New York 10459

      People’s Choice Automotive Corp.
      95-41 150th Street
      Jamaica, New York 11435




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